






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00309-CR






Bobby Joe Luce Jr., Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT

NO. 04-206-K277, HONORABLE KEN ANDERSON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Bobby Joe Luce, Jr. has filed a motion to dismiss his appeal.  The motion
is signed by appellant and complies with the requirements of rule 42.2.  See Tex. R. App. P. 42.2(a). 
We grant the motion and dismiss the appeal.  Id.


					___________________________________________

					David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Henson

Dismissed on Appellant's Motion

Filed:   March 13, 2009

Do Not Publish


